            Case 3:10-cr-02213-KC         Document 2305        Filed 02/27/25      Page 1 of 2



                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                      EL PASO DIVISION

     UNITED STATES OF AMERICA,                        §
                                                      §
               Plaintiff,                             §
                                                      §
     v.                                               §     CRIMINAL NO. EP-10-CR-02213-KC
                                                      §
     (4) LUIS MENDEZ,                                 §
     also known as (a.k.a.) Alex; a.k.a. 58           §
                                                      §
               Defendant.                             §
                                                      §


                       GOVERNMENT'S MOTION TO DETAIN DEFENDANT
                       WITHOUT BOND AND MOTION FOR CONTINUANCE

            Comes now the United States of America, by and through the United States Attorney for

the Western District of Texas, and pursuant to 18 U.S.C. § 3142(e) and (f), files this, its Motion to

Detain Defendant Without Bond and Motion for Continuance, and for cause, would respectfully

show unto the Court the following:

1.        The Defendant is charged with a violation of the Controlled Substances Act which carries a

          term of imprisonment of over ten (10) years.

2.        The Defendant has been charged by Indictment with a violation of Title 18 United States

          Code, Section 1962(d), Conspiracy to Conduct the Affairs of an Enterprise through a Pattern

          of Racketeering Activity; Title 21 United States Code, Section 846, Conspiracy to Distribute

          and Possess with the Intent to Distribute Controlled Substances; Title 21 United States

          Code, Section 963, Conspiracy to Import Controlled Substances; Title 18 United States

          Code, Section 1956(h), Conspiracy to Launder Monetary Instruments; Title 18 United States

          Code, Section 956(a)(1) Conspiracy to Kill Persons in Foreign Country; Title 18 United

          States Code, Section 924 (c) and (j); Murder Resulting from the Use and Carrying of a
       Case 3:10-cr-02213-KC         Document 2305           Filed 02/27/25   Page 2 of 2



     Firearm During and in Relations to Crimes of Violence and Drug Trafficking and Title 18

     United States Code, Section 1959(a)(l), Murder in Aid of Racketeering Activity.

3.   The Defendant is a foreign national, and, as such, presents a high risk of fleeing to avoid

     prosecution on this charge.

4.   There are no conditions or combination of conditions which will reasonably assure the

      safety of the community should the Defendant be released on bond.

5.   There are no conditions or combination of conditions which will reasonably assure the

     appearance of the Defendant at future court settings.

             The Government would further move the Court for a three day continuance of the

     detention hearing from the date of the initial appearance.

       WHEREFORE, premises considered, the Government respectfully prays the Court to hold

the above-named Defendant without bail pending the final outcome of this case.


                                             Respectfully submitted,

                                             MARGARET F. LEACHMAN
                                             ACTING UNITED STATES ATTORNEY



                                     By:      /s/
                                             _________________________________
                                             STEVEN R. SPITZER
                                             Assistant U.S. Attorney
                                             Texas Bar #00797480
                                             700 E. San Antonio, Suite 200
                                             El Paso, Texas 79901
                                             (915) 534-6884




                                                2
